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                                         13
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                                         14                         UNITED STATES DISTRICT COURT
            (213) 623-9300




                                         15                       CENTRAL DISTRICT OF CALIFORNIA
                                         16
                                         17    THE BOEING COMPANY, et al.,              No. CV 13-00730 AB (AJWx)
                                         18               Plaintiffs,                   DEFENDANTS’ NOTICE OF
                                                                                        LODGING OF DEPOSITION
                                         19         vs.                                 DESIGNATIONS AND
                                                                                        TRANSCRIPTS AFTER
                                         20    KB YUZHNOYE, et al.,                     COURTS’ RULING ON THE
                                                                                        PARTIES’ OBJECTIONS
                                         21               Defendants.                   THERETO
                                         22
                                                                                        Trial Date: November 10, 2015
                                         23                                             Judge:      Hon. André Birotte, Jr.
                                                                                        Courtroom: No. 4 (Second Floor)
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                                        Case 2:13-cv-00730-AB-AJW Document 868 Filed 11/23/15 Page 2 of 3 Page ID #:49764



                                          1          TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                          2          PLEASE TAKE NOTICE that pursuant to Local Rule 32-1, Defendants
                                          3    Energia Logistics, Ltd., and Energia Overseas LLC (the “U.S. Subsidiaries”) are
                                          4    hereby lodging copies of the following deposition transcripts to be introduced into
                                          5    evidence. These transcripts were previously lodged with the Court on
                                          6    November 9, 10, and 17, 2015. As the Court directed, they have been re-marked
                                          7    in accordance with Local Rule 16-2.7 and 32-1 to reflect the Court’s
                                          8    November 20, 2015 rulings on the parties’ evidentiary objections.
                                          9          The U.S. Subsidiaries also have designated and are introducing into
                                         10    evidence testimony from the depositions of Dennis Shomoko and Vyacheslav
                                         11    Vasiliev. Pursuant to the parties’ agreement, Plaintiffs will be lodging re-marked
                                         12    versions of those transcripts that contain both sides’ designations and counter-
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                                         13    designations that remain after the Court’s November 20, 2015 evidentiary rulings.
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                                         14          A revised index showing the testimony the U.S. Subsidiaries have
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                                         15    designated and Plaintiffs’ counter-designations will be filed with the Court in
                                         16    accordance with the Court’s directive that the parties submit a joint pleading
                                         17    listing all admitted exhibits and all designated deposition testimony.
                                         18              NO.                    DEPOSITION                     DATE
                                         19               1.      Albaugh, James                             12-22-14
                                         20               2.      Cooke, Douglas                             05-14-15
                                         21               3.      Enyeart, Patrick                           11-12-14
                                         22               4.      McKinney, Richard                          05-12-15
                                         23               5.      Peckham, Robert                            12-08-14
                                         24               6.      Schey, Ira                                 10-30-13
                                         25               7.      Schey, Ira                                 11-11-14
                                         26
                                                          8.      Schey, Ira                                 03-25-15
                                         27
                                                          9.      Shomko, Dennis (to be lodged by            11-18-14
                                         28
                                                                  Plaintiffs)

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                                          1                  NO.              DEPOSITION                     DATE
                                          2                  10.   Sloane, Peter                            01-16-15
                                          3                  11.   Vasiliev, Vyacheslav (to be lodged      1-19-2015
                                          4                        by Plaintiffs)
                                          5                  12.   Vasiliev, Vyacheslav (to be lodged      1-20-2015
                                          6                        by Plaintiffs)
                                          7                  13.   Verbeck, Robert                          12-10-14
                                          8
                                          9      Dated: November 23, 2015           DENTONS US LLP
                                         10
                                         11                                         s/Steven A. Velkei__________________

                                         12                                         Attorneys for Defendants
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                                         13                                         Ltd.
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